                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA                     )
                                             )           DOCKET NO. 3:12-cr-239
           v.                                )
                                             )           ORDER
 KUROSH MEHR (9)                             )
_______________________________              )


       THIS MATTER is before the Court concerning Defendant’s Waiver of Conflict (Doc.

No. 690) filed September 23, 2014. Therein, Defendant acknowledges a potential conflict his

attorney may have in this case. The Court will conduct a hearing to determine whether

Defendant understands the nature of the conflict presented by these circumstances in advance of

his trial, which is set to begin Monday, September 29.

       IT IS THEREFORE ORDERED that the Court will conduct an inquiry hearing on

September 26, 2014 at 10:30 a.m. in Courtroom 3 in the Charlotte Division.

SO ORDERED.

 Signed: September 25, 2014




   Case 3:12-cr-00239-GCM-DCK             Document 698        Filed 09/25/14    Page 1 of 1
